                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1-09-cr-123
 v.                                                    )
                                                       )       COLLIER / LEE
 CRYSTAL MARIE HENLEY                                  )


                              REPORT AND RECOMMENDATION

        Defendant CRYSTAL MARIE HENLEY’s oral motion for a psychiatric/psychological

 evaluation was granted by the Court [Doc. 100]. After completion of the forensic evaluation, a

 report regarding the evaluation of Defendant was received by the Court. The findings set forth in

 the report regarding competency are that Defendant is not suffering from a mental disorder or defect

 rendering her mentally incompetent to the extent she is unable to understand the nature and

 consequences of the proceedings filed against her or assist her attorney in her defense, and that she

 is competent to proceed with the judicial process. Subsequently, Defendant filed a Waiver of

 Competency Hearing pursuant to 18 U.S.C. § 4247(d) [Doc. 254].

        On the basis of the waiver and the evaluation, I RECOMMEND that Defendant be found

 competent to understand the nature and consequences of the proceedings against her, able to assist

 in her defense, and competent to stand trial.

                SO ORDERED:

                ENTER.
                                                 s/Susan K. Lee
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE




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